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                                                                            FILED
                                                                        June 26, 2024

                                                                   CLERK, U.S. DISTRICT COURT

 SEALED                                                            WESTERN DISTRICT OF TEXAS
                                                                       By:        RR
                                                                                        Deputy

                                              COCUaRsTe No:          SA:24-CR-00308-JKP
                      UNITED STATES DISTRICT
                       WESTERN DISTRICT OF TEXAS
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                                tO   o DIVISION

UNITED STATES OF AMERICA
      Plaintiff

             v
                                            INDICTMENT
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             Ed
                                           COUNT 1: 18 U.S.C. § 933
      Defendant                            Conspiracy to Traffic Firearms


                                           COUNT 2: 18 U.S.C. § 932
                                           Conspiracy to Straw Purchase Firearms


                                           COUNT 3: 18 U.S.C. § 922(a)(6)
                                           Falsifying Information When Buying
                                           Firearms




THE GRAND JURY CHARGES:

                                 COUNT ONE
                         Conspiracy to Traffic Firearms
                              [18 U.S.C. § 933(a)]
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use, carrying, or possession of the firearm by the recipient would constitute a felony, to wit,

Conspiracy to Straw Purchase Firearms, all in violation of Title 18, United States Code, Section

933(a)(1).


                                        COUNT TWO
                            Conspiracy to Straw Purchase Firearms
                                       [18 U.S.C. § 932]

                                                                            Defendant,

                                      ASHLEY OBIEDIO,

And others, did knowingly conspire to purchase at least one firearm, to wit: a Barrett .50 Caliber

rifle, in and affecting interstate and foreign commerce, for, on behalf of, and at the request and

demand of any other person, knowing and having reasonable cause to believe that such other

person intended to use, carry, possess, sell and otherwise dispose of the firearm in furtherance of

a felony, to wit, Conspiracy to Traffic Firearms, all in violation of Title 18, United States Code,

Section 932.



                                                 THREE
                        Falsifying Information When Buying Firearms
                                     [18 U.S.C. § 922(a)(6)]

                                                                        Defendant,

                                       ASHLEY OBIEDIO

in connection with the acquisition of a firearm, to wit: a Barrett M82A1, .50 Caliber rifle bearing

Serial Number: AA017032, from a licensed dealer of firearms within the meaning of Chapter 44,

Title 18, United States Code, knowingly made a false and fictitious written statement to the

licensed dealer, which statement was intended and likely to deceive the dealer as to a fact material

to the lawfulness of such acquisition of the said firearm to the defendant under chapter 44 of Title



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18, in that ASHLEY OBIEDIO executed a Department of Justice, Bureau of Alcohol, Tobacco,

Firearms, and Explosives Form 4473, Firearms Transaction Record, stating she was the actual

buyer of the firearm indicated on the Form 4473, when in fact as she then knew, she was not the

actual buyer of the firearm, in violation of Title 18, United States Code, Section 922(a)(6).




       JAIME ESPARZA
       UNITED STATES ATTORNEY


BY :
       FOR AL    cIiA
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                       cNA aBb
       Assistant United States Attorney




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